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US Depagmenetof}\§ticc¥ 00532 B DOCUmem 22 |l:>ii§?)%%OSZS/JSECP€?I§T XN 1 e "'

United States Marshals Service See "Instructions for Service ofPrace:s£

 
  
    
 

 

 

PLAINTIFF COURT CASE NUMBER w
sheridan shelby 3 18-cv-§321}F8 w _2 FH l¢§]
DEFENDANT l TYPE 0F PRoci;ss

 

 

Kwik Kar /Guide Star . Summons in a C1vil Action a :
NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PR%PEI§WL ‘O‘R"CONUEW`““

SERVE {Kwilc Kar/Guide Star /Kwik Industires (Human Resources Dept)

 

ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)

4725 Nall Road, Dallas, TX 75244 _
SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

 

 

Number of process to be-

 

 

 

served with this Form 285 1
Sheridon Shelby Number of parties to be b
3517 Cleveland, #3 served m this case ‘ 1
Dailas, TX 75215 `
Check for service
l_ on U.S.A.

 

 

 

SPECIAL INSTRUCHONS OR OTHER INFORMAHON THAT WILL ASSIST IN EXPEDITING SERVICE (Include Bus1ness andAltermlteAddressesl
All Telephane Numbers, and Estt`mated Times Avatlable for Service): '

role - 1 `j 1 role

 

 

Signature of Attomey other Originator requesting service on behalf of: |:| PLAINTIFF TELEPHONE NUMBER 11 4 DATE

l:l DEFENDANT

 

 

 

SPACE BELOW FOR USE OF U. S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE

 

 

 

 

 

 

 

 

l acknowledge receipt for the total Total Process District of District to Signati.*re of Authorized USMS Deputy or Clerk ‘ Date

number of process indicated Origin Serve 1 `

(Sign only for USM285 if more 1 ` 1 /

than one USM285 is submitteaD 1 No. 77 No. 77 l l - ` y /£ /}
V

 

I hereby certify and return that IE have personally served, l:l have legal evidence of service, l:l have executed as shown in "Remar " ,the process described
on the individual ,company, corporation, etc. ,at the address shown above on the on the individual ,company, corporation, etc shown at the address inserted below.

l:l I hereby certify and return thatl am unable to locate the individual, company, corporation, etc. named above (See remarks l)elow)_

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name and title of individual served (ifnot shown above) ' A person cf suitable age and discretion
\nl then residing in defendant‘s usual place
W ll isle ll\e{lzi/~1;i€/r 11 a /1115 Ofabode
Address (complete only different than shown above) Date ‘ l Time §
am
,. l ]. ~ . ¢~_
// 1 l guy 3/ (5 d l] pm
Sigga e of U,S l\/larshal or Deputy
\ 22 114 N\'h~ fig lJ\
; _
Service Fee Total Mileage Charges Forwarding Fee Total Charges Advance Deposits Amount owed to U.S. Marshal* or
including endeavors) (Amount of Refund*)
*(05¢:0 $/3 30 576-36 ' 0 4
0 $0'00
REMARKS; _ `
1 11111-11@~$1§\1~ l l wl 3111111\11
1>[{|\'|‘ 5 ('()p||qg; 1. CLERK OF THE COURT 1 ` PRlORlEDITIONS MAY BE USED

2. USMS RECORD
3. NOTICE OF SERVICE
4. BILLING STATEMENT*: To be returned to the U.S. Marshal with payment,

if any amount is owed. Please remit promptly payable to U.S. Marshal. ` l ` Form USM-285
5. ACKNOWLEDGMENT OF RECEIPT 1 ` ` ` Rev. 12/80

 

 

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U.S. Department of Justice
United States Marshals Service

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L iNrii 3:18-Cv-532-B M

Sheridon Shelby

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TY:PL ()l l’R()CESS

 

 

 

 

 

 

 

DEFENDANT
Kwik Kar /Guidc Star Summc§if$i°i`ivd'§icil'$i%iiorr“”'““""“
NAME OF lNDlVlDU/\l., COMPANY, C()RPOR.‘\'l'lON. IZTC. TO SERVE ()R l)iiSCRiP'l`ION Ol" i'R()PHRTY 'l`O SEIZE OR CONDEMN
SERVE Kwik Kar/Guidc Star c/o former owners Rayil Sajan and/or Munira Ali-Sajan
AT ADDRESS (Sl)'eel or RFD. Aparlmem .»\"l).. Cilj', Slale and ZI}’ "u¢l:’_)
1502 Milla Cl., Eui€SS, TX 76039
SEND NOTICE Ol~` SERVICE COPY TO REQUESTER A'l` NAME AND ADDRESS BELOW Number o!-pmccss m be 52 fri
b served with this Form 285 1 ¢-:¢> ,." ___
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. ~~;, m fs
Sheridon Shelby Number orpames to be `~"3 ,`_`_‘ §§
3517 Cleveland, #3 wch in this case l _“ §§ ;»:
Dal\a$, TX 75215 :" `\ 23 O'>
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On § c~>
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4ll Telephon¢ Numbers, and Esrimarerl Times Availablefor Sem'ce):

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'l'l£l.l§PHO.\'E NUMB!ER

D.»\T la

 

 

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE

 

 

 

 

 

 

 

l acknowledge receipt l'or the total 'l`otai Proeess Dislrict ol` District lo Signalure pl`Aulhorized USMS Deputy or Clerk ,/Datc

number of process indicated ()rigin Ser\'e

/Sign only/ar USM 235 ifmm M //

Ihan one US..\~!ZS$ ix subnn`ned) ll \Jo. 77 No. 77 v v l 1 7 /l ff
V

 

l hereby certify and return that l

have personally served ,i] have legal evidence ol`service, i:i have executed as shown in "Remarks", the process described

on the individual , eompany, corporation. etc., at the address shown above on the on the individual , company, corporation, etc. shown at the address inserted below.

m l hereby certify and return that l am unable to locate the individual, company, corporation etc named above (S`ee remarks below)

Name and title ol` individual served (i/ nol shown above)

%A)/i`/ 56\.5'\/\

i:i A person of suitable age and discretion
then residing in defendant‘s usual place
of abode

 

A'ddres! ( complete only ¢;'Ij’erenl lhan shown above)

I)ate . Time

4/¢"//5@/§ 4 00 @i/m

Xe\ireVS.A/l hal or Deputy
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Service Fee Total Mileage Charges Forwarding l"ce 'l`otal Chargcs /\dvance Deposils »‘\mounro\\ed ml 5 Marsha| :09/
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l, CLERK ()F THE COURT
2. USMS RECOR[)
3. NOTICE Ol~` SERVICE

 

l’Rl\"l` 5( ()l’ll".§:

4. BlLLlNG S'l`A'l'l`:`MEN'l`*: To be returned to the U.S. Marshal with payment.
if any amount is owed. Please remit promptly payable to U,S. Marshal.

5_ ACKNOWLEDGMENT OF REC[Z{PT

PRlOR ED|"HONS MAY BE USED

Fonn USM-?.S$
Rev. 12/80

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" ’~ Case 3:18-cV-00532-B Document22 Filed 05/02/18 PageSofS Page|D 55

AO 440 (Rev. 12N9) Summons in a Civil Action (Pagc 2)
civil Acrion No. szis-¢v-oossz-B

PROOF OF SERVlCE
(7711°$ section should not be filed with the court unless required by Fed. R. C'l'v. P. 4 (I))

Thissummonsfor(name findividualandlitle,ifam)) %@;/l";/§a lam /MV"' /5’ A|"'S ’“L\ ("""

was received by me on (dare)

M personally ed the summons on the individual at (pIace) § ‘/I l 55 l 0 \’\ F+ '

/~SQM /la 1. Et//F£S ;7:)( lon(da¢e) VZ!p/) l éQ,QO/Z; or

I_ l left the summons at the individual's residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

 

 

 

 

 

 

 

 

 

on (date) , and mailed a copy to the individual's last known address; or
I_ I served the summons on (name ofindividua!) l , who is designated
by law to accept service of process on behalf of (narne of organization)

on (dare) ; or
l_ I returned the summons unexecuted because " ; or
I_ other (specijj')

/ 53 505 00 74 g a
My fees are $ l ' for travel and $ ' for services, for a total of $ '

l declare under penalty of perjury that this information is true.

mm jig/il 511/,,,?1/13 /Q%MZ¢

 

 

(S<./rver's signature
j_ L vr/ze% D¢/§/\/l.
mined name and title
U.S. C(/w#wes<. 'F‘i- Wo/'i/\_FT)(
Server's address

Additional information regarding attempted service, ete:

4/0’?¢/- 39 3 m /€$ V/?'.

